JS 44 (Rev. 06/17) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

L (a) PLAINTIFFS DEFENDANTS
VINCENT A. SHEPERIS SIG SAUER, INC.
(b) County of Residence of First Listed Plaintiff Fairfield County of Residence of First Listed Defendant
(EXCEPT IN U.S, PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

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Westport, Connecticut 06880, 203 984 8820 4 Manhattanville Road, Ste 202, Purchase NY 10577, 914 417 3412

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)

O01. U.S. Government 0 3. Federal Question PTF DEF PTF DEF

Plaintiff (U.S. Government Not a Party) Citizen of This State Ri G1 Incorporated or Principal Place o4 04
of Business In This State

O 2 U.S. Government 4 Diversity Citizen of Another State QO 2 @© 2 Incorporated and Principal Place O5 &s

Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a Oo 3 G 3 Foreign Nation o6 06
Foreign Country

IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions

ee AC _ TOR | _FORFEITURE/PENALTY [BANKRUPTCY | OTHERSTATUTES

© 110 Insurance PERSONAL INJURY PERSONAL INJURY | 0 625 Drug Related Seizure © 422 Appeal 28 USC 158 0) 375 False Claims Act

O 120 Marine OD 310 Airplane ¥ 365 Personal Injury - of Property 21 USC 881 |0 423 Withdrawal O 376 Qui Tam (31 USC

© 130 Miller Act © 315 Airplane Product Product Liability O 690 Other 28 USC 157 372Xa))

©) 140 Negotiable Instrument Liability © 367 Health Care/ ©) 400 State Reapportionment

C150 Recovery of Overpayment | 320 Assault, Libel & Pharmaceutical PROPERTFY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury O 820 Copyrights O 430 Banks and Banking
C151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
152 Recovery of Defaulted Liability © 368 Asbestos Personal CO) 835 Patent - Abbreviated (J 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application {© 470 Racketeer Influenced and
(Excludes Veterans) O 345 Marine Product Liability O 840 Trademark Corrupt Organizations
CG 153 Recovery of Overpayment Liability PERSONAL PROPERTY |. S © 480 Consumer Credit
of Veteran’s Benefits © 350 Motor Vehicle © 370 Other Fraud © 710 Fair Labor Standards © 861 HIA (1395ff) © 490 Cable/Sat TV
0 160 Stockholders’ Suits © 355 Motor Vehicle © 371 Truth in Lending Act O 862 Black Lung (923) © 850 Securities/Commodities/
© 190 Other Contract Product Liability © 380 Other Personal O 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI OG 890 Other Statutory Actions
O 196 Franchise Injury © 385 Property Damage © 740 Railway Labor Act © 865 RSI (405(g)) © 891 Agricultural Acts
© 362 Personal Injury - Product Liability © 751 Family and Medical © 893 Environmental Matters
Medical Malpracti Leave Act © 895 Freedom of Information
AL PROPERTY | CIVIL RIGHTS | NE! TLIC G 790 Other Labor Litigation | FEDERAL TAX SUITS | Act
Land Condemnation © 440 Other Civil Rights © 791 Employee Retirement © 870 Taxes (U.S. Plaintiff G 896 Arbitration
GO 220 Foreclosure © 441 Voting © 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
G 230 Rent Lease & Ejectment O 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
G 240 Torts to Land © 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations © 530 General © 950 Constitutionality of
G 290 All Other Real Property © 445 Amer. w/Disabilities -] J 535 Death Penalty : State Statutes
Employment Other: © #462 Naturalization Application
© 446 Amer. w/Disabilities -] 540 Mandamus & Other | 465 Other Immigration
Other © 550 Civil Rights Actions
©) 448 Education © 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (lace an “X” in One Box Only)
1 Original O 2 Removed from O 3  Remanded from 0 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity): .
y 2 (Do not cite jurisdictiona versity, 28 U.S.C. section 1332

VI. CAUSE OF ACTION

Brief descriptign of cause: . . . .
Action seeking damages and equitable relief for damages caused by defective firearm

VIL REQUESTED IN CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. >1 million as to each count JURY DEMAND: —(@)Yes_ (No
VII. RELATED CASE(S)
IF ANY (See instructions):
JUDGE__— DOCKET NUMBER
DATE Sewar OF STOREY CRD
August 4, 2017 . Ly eres
FOR OFFICE USE ONLY ¢

RECEIPT # AMOUNT APPL YING IFP —— MAG. JUDGE

UNITED STATES DISTRICT COURT
DISTRICT OF CONNECTICUT

VINCENT A. SHEPERIS, CIVIL ACTION NO.:
Plaintiff,
Vv.
SIG SAUER, INC. JURY TRIAL DEMANDED
Defendant. AUGUST 4, 2017
COMPLAINT
NATURE OF ACTION

This action seeks recovery of compensatory and punitive damages, and equitable relief,
caused by defendant Sig Sauer, Inc.’s negligent manufacture and/or design of a semi-automatic
firearm. Specifically, a semi-automatic pistol model known as the “P320.”

On January 5, 2017 the plaintiff, a member of the Stamford Police Department’s Special
Response Team (SRT), accidentally dropped his Department-issued P320 while loading SRT
equipment into the rear of his vehicle. Upon impact with the ground, the pistol discharged,
without the trigger being pulled,’ shooting him in his left leg, causing substantial physical harm,
emotional distress, sleeplessness, and mental trauma. At the time of its descent to the ground

and the discharge, Sheperis’s pistol was, further, fully holstered. The trigger was therefore

1 In the weapons industry, this type of discharge is typically referred to as an inadvertent or
unintended discharge, or “drop fire” in which the weapon fires without a trigger pull. See, e.g., O’Neal v.
Remington Arms Co., LLC, 817 F.3d 1055, 1060 (8" Cir. 2015) (referring to “inadvertent discharge” of
weapon “without the trigger being pulled”).

incapable of being touched or of any movement.

The weapon should never have discharged upon mere impact with the ground, holstered
or un-holstered. In its own “Safety Without Compromise” marketing materials for the P320, SIG
SAUER states:

“We’ve designed safety elements into every necessary feature on this pistol. From the
trigger, to the striker and even the magazine, the P320 won't fire unless you want it to.”

Under these circumstances, SIG SAUER is liable for this incident under the Connecticut
Product Liability Act, Conn. Gen. Stat. §§ 52-572m and 52-572n, which includes, on a unified
basis, claims for strict liability, negligence, misrepresentation, punitive damages and breach of
implied and express warranty. Plaintiff Sheperis also brings a separate cause of action seeking
compensatory and punitive damages under the Connecticut Unfair Trade Practices Act, Conn.
Gen. Stat. § 42-110(b), for unfair and deceptive trade practices in their marketing of the
weapon, as further described below, as well as a cause of action under Connecticut common
law for negligent infliction of emotional distress.

JURISDICTION

1. Jurisdiction is founded on diversity of citizenship pursuant to 28 U.S.C. § 1332.
Plaintiff Vincent Sheperis is a citizen of the United States and the State of Connecticut.
Defendant Sig Sauer, Inc. has a principal place of business in New Hampshire. The amount
in controversy exceeds, exclusive of interest and costs, $75,000.

VENUE

2: Venue is proper in this judicial district under 28 U.S.C. § 1391(a)(2). A

substantial part of the events or omissions giving rise to the plaintiff's claims occurred within

this judicial district.

PARTIES

3. Vincent A. Sheperis is 34-year-old citizen of the United States who currently is
domiciled in Connecticut. He has been member of the Stamford, Connecticut police department
since September 2006. He has been a member of the Department's Special Response Team
(SRT), known in other contexts as Special Weapons and Tactics, since 2011. He has never
received discipline during his entire career.

4. Sig Sauer, Inc. designs and manufactures firearms for military, law enforcement,
and commercial markets worldwide. It offers pistols, rifles, short barrel rifles, Sig Sauer
Mastershop series, and firearms accessories; and apparel, CD/DVD training, and
knives. The company also provides customized training in security subjects for corporate
customers and law enforcement agencies on a contract basis.

It markets and sells its products through dealers. Sig Sauer, Inc. was formerly known
as SIGARMS, Inc. and changed its name to SIG SAUER, Inc. in October 2007. The company
was founded in 1985 and is headquartered in Exeter, New Hampshire.

ALLEGATIONS

5. The discharge at issue occurred when Officer Sheperis accidentally dropped his
fully-holstered P320 on the ground in the Department's Special Response Team bay parking
area in Stamford, Connecticut on January 5, 2017.

6. The weapon's impact with the ground resulted in an unintended discharge,
striking Officer Sheperis, a Special Response Team member, in his left leg.

7. The weapon’s internal and external safeties all failed to prevent it from
discharging and shooting Officer Sheperis.

8. The bullet entered beneath his left knee, traversed the tissue and part of a

tendon behind his patella, and lodged slightly to the left of his knee with the round protruding
from his leg.

9. Fellow officers and EMS took Officer Sheperis to the emergency room at
Stamford Hospital where he was operated on by two trauma surgeons.

10. While the full extent of the physical damage to his knee and leg is not yet known,
the incident has resulted in substantial physical harm and related mental trauma to Officer
Sheperis, who was completely out of work thereafter, then placed on light duty due to
loss of function from the wound, then put out of work again after an additional surgery.

11. It has also thus far resulted in physical therapy, and additional surgery to repair
the damage caused by the discharged round.

12. Officer Sheperis’s P320 pistol discharged on mere impact with the ground,
without the trigger being pulled or even touched, which defendant SIG represented was not
possible in marketing materials for the P320.

12. It also discharged while it was fully holstered in a Model 6360 ALS/SLS Mid Ride,
Level Ill Retention Duty Holster, which attaches to, and detaches from, a mid-thigh area mount
worn by Special Response Team members.

13. Because it was holstered, the trigger was protected from any movement upon
impact with the ground, in addition to the protection provided by the pistol’s own trigger guard
and internal safeties which failed to prevent the weapon from firing.

14. At no time before, during or after the incident did Officer Sheperis place his finger
on the P320’s trigger or touch the holstered firearm in any manner.

15. In a Supplemental Report dated January 5, 2017, Officer Sheperis stated: “[a]t
no time from when the firearm secured within the holster fell from my person, to when it struck
the ground, or while | was waiting for assistance did | touch my firearm.”

16. In additional marketing material, under the heading “Striker Safety,” defendant
SIG SAUER further states: The Striker Safety “[p]revents the striker from being released unless
the trigger is pulled.” (emphasis added).

17. At the same time, SIG SAUER contradictorily states in the manual for the P320,
on page 25, that the weapon may fire if dropped without the trigger being pulled if the chamber
is not empty. Itis, however, standard operating procedure for all U.S. law enforcement
agencies, local police departments, and the military to carry pistols with a chambered round.

18. Officer Sheperis and his employer the Stamford Police Department reasonably
relied on these marketing statements, as well as SIG’s reputation for producing high quality
weapons, when it purchased the P320.

19. The Department has since shelved all P320s issued to its Special Response
Team Operators due to the January 2017 incident.

20. The P320 is a pistol model no doubt currently in use, or soon to be in use, by
many other police departments around the nation, as well as the United States Army.

21. Further, upon information and belief, there have been many prior incidents of
unintended discharges involving Sig Sauer weapons that are dropped and fire without the
trigger being pulled, or simply while being handled, or while being holstered.

22. For example, from 2005 to January 2011, the San Francisco Police Department
reported 29 accidental discharges (a time when it issued SIG Sauers as its primary sidearm).

23. In 2002, a San Fernando police officer dropped his SIG Sauer, causing an

accidental discharge that killed him, refuting claims the trigger must be pulled to fire the gun.

24. In 2008, an officer in Connecticut accidentally discharged his SIG Sauer while
holstering it.

25. In 2011, a security guard in St. Louis dropped his SIG Sauer, unintentionally
shooting someone.

26. In 2012, a New York transit officer accidentally discharged his SIG Sauer while
holstering it.

27. In 2014, a federal air marshal in New Jersey unintentionally shot himself while
handling his SIG Sauer service weapon.

28. In 2015, a Pennsylvania state trooper and firearms instructor accidentally killed
another trooper with his SIG Sauer while conducting safety training.

29. In 2016, a tactical response training instructor near Sacramento dropped his SIG
Sauer, firing a bullet into a student’s truck.

30. In 2017, a sheriff's deputy in Michigan accidentally discharged his SIG Sauer,
striking a schoolteacher in the neck.

31. In the period between 2012 and 2015, the New York City Police Department
reported 10 accidental discharges involving Sig Sauer weapons.

32. On August 16, 2017, the Dallas Police Department issued a recall of the P320
due to drop safety concerns, prohibiting its use by officers until repaired. In an
interdepartmental memo, it stated:

Sig Sauer has identified that there is a defect in the P320 handgun that could cause the

weapon system to go off when dropped. The Sig Sauer P320 was approved for primary

duty, secondary primary duty, and back-up use. The Firearms Training Center is
currently working with Sig Sauer to obtain a solution for the safety issue. Until Sig Sauer

is able to find a solution to the safety issue, the Sig Sauer P320 is no longer approved by
the Dallas Police Department for any use.

33. Upon information and belief, employees at Sig Sauer’s own training academy in
New Hampshire have admitted to accidental discharges causing injury in both 2016 and 2017.

34. In an interview in 2013, Sig’s Chief Financial Officer, Timothy Scullin, noted that
Sig’s revenue rose approximately 1,400 percent from 2012 to 2013 and stated that Sig Sauer’s
Growth has outpaced its industry’s growth by “two or three times.”

35. When asked what some of his biggest professional challenges he has faced in
his career, he stated:

At SIG, to grow this fast, people get really challenged. When you’re growing 70 to 80

percent in a year, all the systems get stretched, and the people really get stretched.

You have to be able to manage multiple tasks in a very fast environment, and in an

environment that’s highly regulated, so you can’t mess up, otherwise you get shut down.

It just creates a tremendous of stress on the people in the system. But we've got people

that have risen to the challenge.

(emphasis added).

COUNT ONE

VIOLATION OF CONNECTICUT PRODUCTS LIABILITY ACT (CPLA)

Conn. Gen. Stat. §§ 52-572m_ and 52-572n

36. Paragraphs one through 35 are incorporated by reference.

37. By its actions, in producing a weapon with a design and/or manufacturing defect,
defendant Sig Sauer has violated the provisions of the CPLA.

38. Defendant is liable to Sheperis under CPLA under theories of strict liability, negligence,
misrepresentation, punitive damages and breach of implied and express warranty.

39, The defendant’s violation of CPLA, and prior instances of producing faulty firearms, has

been the proximate and foreseeable cause of physical harm andsubstantial compensatory and

actual damages to Sheperis, entitling him to recover compensatory and punitive damages.

COUNT TWO

VIOLATION OF CONNECTICUT UNFAIR TRADE PRACTICES ACT

Conn. Gen. Stat. § 42-110a et seq.

40. Paragraphs one through 39 incorporated by reference.

41. By its actions, in representing in its marketing materials that the P320 will not fire unless
the trigger is pulled, while simultaneously stating in the weapon’s manual that it may discharge if
merely dropped, without the trigger being pulled, defendant has engaged in unfair and deceptive
trade practices in violation of CUTPA.

42. The defendant’s violation of CUTPA has been the proximate and foreseeable cause of
physical harm and substantial compensatory and actual damages to Sheperis, entitling him to

recover compensatory and punitive damages.

COUNT THREE

NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

43. Paragraphs one through 42 are incorporated by reference.

44, By its actions, detadare knew, or should have known, that the design and/or
manufacturing defect in the P320 rendered it capable of discharging without the trigger being
pulled. Yet is presented to the Stamford Police Department and Sheperis, and the general
public, in marketing materials that numerous safeties would prevent the gun from firing unless
the trigger was pulled.

45, Defendant’s conduct created an unreasonable risk of causing the plaintiff emotional
distress;

46. The plaintiffs emotional distress was foreseeable;

47. The emotional distress was severe enough that it might result in illness or bodily harm,
and in fact did result in such harm;

48. The defendant’s conduct was the cause of the plaintiffs distress.

49, The trigger was not pulled by Sheperis, yet the weapon still fired and shot him in the leg.
50. The defendant’s tortiouus conduct has been the proximate cause of substantial
compensatory and actual damages to Sheperis, including emotional distress, sleeplessness,
post-traumatic stress, and loss of function, entitling him to recover compensatory and

punitive damages under Connecticut common law.

PRAYER FOR RELIEF

WHEREFORE, plaintiff respectfully requests that this Court:
1. Assume jurisdiction over this case;
2. Empanel a jury;

3. Award actual and compensatory damages in the amount of $1 million or in any
other amount determined by a jury for defendant's violation of the CPLA;

4. Award $2 million in punitive damages for defendant's violation of the CPLA;

5. Award actual and compensatory damages in the amount of $1 million or in any
other amount determined by a jury for defendant's violation of CUTPA;

6. Award $2 million in punitive damages for defendant’s violation of CUTPA;

7. Award $1 million in compensatory damages under Connecticut common law for
negligent infliction of emotional distress;

8. Award plaintiff costs and reasonable attorneys’ fees in bringing this action;
9. Order defendant to issue a recall notice or other enhanced, unambiguous
warning to all purchasers of the P320 stating that the weapon is not drop safe

with a chambered round, and can fire without a trigger pull;

10. Retain jurisdiction over this case until defendant has complied with all
orders of the Court;

11. Award such other relief as the Court deems appropriate.
The plaintiff demands a trial by jury on all counts.

PLAINTIFF
VINCENT A. SHEPERIS

By:

Lalldfrey S. Bagnell
Jeffrey S. Bagnell
Federal Bar No. CT18983

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